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 8                                IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                   Plaintiff,                   No. CR. S-09-0096 JAM
            vs.
12
                                                  ORDER
13   JOSEPH SILVA,

14                   Defendant.
                                          /
15

16          The matter came before the undersigned on March 26, 2009, on the government’s request

17   to impose a condition on defendant’s continued release on his own recognizance. After hearing

18   argument from the parties, the court added the following special condition on defendant’s

19   continued release: The defendant shall have no contact, directly or indirectly, with the victims in

20   this case, Vishal Wadhwa and Ayesha Wadhwa.

21          So Ordered.

22   DATED: March 26, 2009.

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